
Motion by plaintiffs Carlos Rios and Roberto Rios, insofar as it seeks leave to appeal from so much of the order of the Appellate Division as severed the action between plaintiffs and defendant Hill and granted a new trial limited to the issues of damages only, and cross motion by defendant Ricardo P. Hill for leave to appeal dismissed, each upon the ground that that portion of the order sought to be appealed from does *938not finally determine the action within the meaning of the Constitution. Motion by plaintiffs Carlos Rios and Roberto Rios for leave to appeal otherwise denied. Twenty dollars costs and necessary reproduction disbursements payable by said plaintiffs to respondent County of Suffolk.
